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               UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA
                          CHAPTER 13 PLAN (Individual Adjustment of Debts)

                       3rd   Amended Plan (Indicate 1st, 2nd, etc. amended, if applicable)
DEBTOR: Carlos Alberto Pacheco      JOINT DEBTOR:                             CASE NO.:                17-17727-LMI
Last Four Digits of SS# 6065       Last Four Digits of SS#

MONTHLY PLAN PAYMENT: Including trustee's fee of 10% and beginning 30 days from filing/conversion date,
Debtor(s) to pay to the trustee for the period of       60       months. In the event the trustee does not collect
the full 10%, any portion not collected will be paid to creditors pro-rata under the plan:

A.       $   182.98            for months       1        to      60      ;
B.       $                     for months                to              ;in order to pay the following creditors:

Administrative:         Attorney's Fee -$ 3,500.00 +150.00 Costs = $3,650.00 TOTAL PAID $900.00
                        Balance Due - $2,750.00 payable $ 137.50 /month (Months       1 to 20 )

Secured Creditors: [Retain Liens pursuant to 11 U.S.C. '1325 (a)(5)] Mortgage(s)/Liens on Real or Personal Property:
1.                                                 Arrearage on Petition Date    $
Address:                                       Arrears Payment      $      /month (Months                    to      )
                                               Regular Payment      $      /month (Months                    to      )
Account No:

IF YOU ARE A SECURED CREDITOR LISTED BELOW, THE PLAN SEEKS TO VALUE THE COLLATERAL SECURING
YOUR CLAIM IN THE AMOUNT INDICATED. A SEPARATE MOTION WILL ALSO BE SERVED ON YOU PURSUANT
TO BR 7004 and LR 3015-3.

 Secured Creditor       Description of Collateral    Interest    Plan           Months of Payment       Total Plan
                        and Value of Collateral      Rate        Payments                               Payments

                                                     0.00%       $0.00             1    To      60      $0.00

Priority Creditors: [as defined in 11 U.S.C. '507]

1. Internal Revenue Service (POC 4-1)          Total Due $1,184.55
                                               Payable $ 15.18/month (Months 1                   to   20 )
                                               Payable $ 22.02/month (Months 21                  to   60 )

Unsecured Creditors: Pay $ 12.00 month (Months 1 to 20 )
                     Pay $ 142.66 month (Months 21 to 60 )

Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.

Other Provisions Not Included Above: American Honda Finance (2016 Honda), Wells Fargo Dealer Services
(2006 Chevrolet) are being paid outside the Chapter 13 Plan. Chase Mortgage (Non-H/s-Mtg) Per divorced
settlement agreement, Debtor has no interest on this property. The debtor(s) is hereby advised that the chapter
13 trustee has requested that the debtor(s) comply with 521(f) 1-4 on an annual basis during the pendency of
this case. The debtor(s) hereby acknowledges that the deadline for providing the Trustee with their filed tax
returns is on or before May 15 of each year the case is pending and that the debtor(s) shall provide the trustee
with verification of their disposable income if their gross household income increases by more than 3% over the
previous year’s income.
I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.

                   /s
Debtor
Date:         08/31/2017
